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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

 JANE DOE,

                               Plaintiff,                  ORDER TO SHOW CAUSE FOR
                                                            TEMPORARY RESTRAINING
                -against-                                   ORDER AND PRELIMINARY
                                                                 INJUNCTION
 NEW YORK UNIVERSITY,
                                                                    21-Cv-2199 (SHS)
                               Defendant.




   Upon the Affidavit of Julie A. Nociolo, Esq. dated March 12, 2021, the Memorandum of Law,

the Declaration of Jane Doe, dated March 12, 2021, the annexed Complaint and incorporated

exhibits, and the teleconferences held on March 16 and 17, 2021, let the defendant show cause

before this Court, at the Daniel Patrick Moynihan United States Courthouse at 500 Pearl Street in

the City of and County of New York and State of New York on April 13, 2021, at 2:30 p.m., or as

soon thereafter as counsel may be heard, why an order should not be issued pursuant to Rule 65 of

the Federal Rules of Civil Procedure:

    a. Enjoining defendant university from enforcing its sanction of suspension against Jane
       Doe;

    b. Directing that any reference to plaintiff’s actual name be redacted or referred to by the
       pseudonym “Jane Doe”; and it is further
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        ORDERED that Plaintiff Jane Doe post $5,000.00 in security on or before March 19, 2021;

and it is further

        ORDERED that, pending the hearing and determination of this motion before the Court, the

Clerk of the Court is directed to file the REDACTED versions of Exhibits C, G, H, J attached to

plaintiff’s Complaint; and it is further

        ORDERED that pending the hearing and determination of this motion before the Court,

defendant university is temporarily enjoined from enforcing its sanction of suspension against "Jane

Doe"; and it is further

         ORDERED that the caption of this case shall be JANE DOE v. NEW YORK

 UNIVERSITY; and it is further

         ORDERED that responsive papers by defendant shall be served on plaintiff on or before

 April 2, 2021, by noon, and reply papers, if any, shall be filed on or before April 7, 2021, by noon;

 and it is further

         ORDERED that personal service of a copy of this ORDER TO SHOW CAUSE together

 with the papers upon which it is based on or before March 17, 2021 shall be deemed good and

 sufficient service.

 Dated: New York, New York
        March 17, 2021, at 5:05 p.m.
